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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
PARKERVISION, INC.,
Plaintiff,
v. Case No: 6:14-cv-687-PGB-LHP
QUALCOMM INCORPORATED
and QUALCOMM ATHEROS,
INC.,

Defendants.
/

SEALED ORDER

This cause is before the Court on Defendants’ Motion to Strike and Exclude
Opinions Regarding Alleged Infringement and Validity Issues. (Docs. 491, 540 (the
“Motion”)). Plaintiff submitted a Response in Opposition. (Doc. 527). The Court
heard Oral Argument on January 24, 2022, and upon due consideration,
Defendants’ Motion is granted.

I. BACKGROUND

Defendants’ Motion consists of four parts in which it seeks the following: (1)
to exclude a new “impedance translation” infringement theory, a new Tauos/T
theory, and a new theory regarding the alleged reference potential; (2) to strike
opinions that have been estopped by ParkerVision I and by the Federal Circuit’s
affirmance of the PTAB; (3) to strike pursuant to Daubert unreliable opinions due

to the lack of testing and simulation; and (4) to strike ‘372 Patent infringement
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opinions. (Doc. 540). Plaintiff has abandoned the ‘177 Patent and claim 107 of the
‘372 Patent, rendering moot the dispute over the allegedly new “impedance
translation” infringement theory and the reference potential. (Docs. 670, 677,
14:13-17).
II. DISCUSSION

A. = Tatlote/T

Defendants move the Court to Strike Plaintiff's Tauof/T theory, because the
calculation is an infringement theory disclosed for the first time in Plaintiffs expert
rebuttal report and because it lacks a sufficient scientific foundation. (Doc. 540,
pp. 3-7):

1. Undisclosed Theories

Defendants argue that Plaintiff cannot rely on theories disclosed for the first
time in expert reports. Fed. R. Civ. P. 37(c); Finjan v. Cisco Sys., No 17-72, 2020
WL 2322923, at *3 (N.D. Cal. May 11, 2020) (“It is well settled that expert reports
may not introduce theories not set forth in contentions.” (internal quotations,
brackets, citation omitted)). The prejudicial effect of asserting a new infringement
theory after discovery has closed is beyond dispute. See KlausTech v. Google, No.
10-5899, 2018 WL 5109383, at *8 (N.D. Cal. Sept. 14, 2018). This is because the
purpose of infringement contentions is to place Defendants on notice of Plaintiffs
infringement theories. Auburn Univ. v. Int'l Bus. Machs., Corp., 864 F. Supp. 2d
1222, 1227 (M.D. Ala. 2012). Plaintiff contends the Tauos/T theory is not an

infringement theory and is offered to rebut the Defendants’ validity contentions.
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(Doc. 677, 30:17-19, 32:23—33:2, 33:4—7). Therefore, Plaintiff does not seek to
excuse the late disclosure of new theories. Outside the Box Innovations, LLC v.
Travel Caddy, Inc., No. 1:05-CV-02482, 2008 WL 11337316, at *2 (N.D. Ga. Aug.
26, 2008) (party seeking to amend infringement contentions after discovery of
new evidence must be diligent). And it is undisputed that the calculation did not
appear in Plaintiffs expert’s initial report on its infringement contentions. (Doc.
527, p. 3). As a result, the issue of timeliness concerns whether the Tauos/T theory
disclosed in the rebuttal report of Plaintiffs expert serves as an infringement
theory or simply as a response to Defendants’ prior art references.

Defendants’ counsel described the Tauos/T calculation at oral argument as
taking Tau-off and dividing it by T, then the relative value is used to decide whether
something is a voltage sampler or an energy sampler. (Doc. 677, 15:8—11).
Defendants argued that “according to ParkerVision . . . if something is an energy
sampler . . . it falls within the claim [and infringes], and if something is a voltage
sampler .. . it falls outside the claims.” (Id. 15:11-16). And so, Plaintiffis using “this
Tau-off over T theory to tell us what falls within what we’ve now defined as their
receiver claims or what falls outside what we’ve defined as the receiver claims.” (Id.
15:17-20).

Plaintiff agrees that the Tauor/T theory was not disclosed in their expert’s
infringement report, and it does not intend to offer Tauog/T for infringement. (Id.
30:16—-19, 31:11-13). Rather, Plaintiff contends the theory is offered to distinguish

Defendants’ prior art references because Tauos/T will be used to show the prior art
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does not “show, teach, or disclose sufficient discharged in the capacitor to the
load.” (Id. 33:5—11). This is important because one of the claim limitations “is
whether the capacitor discharges energy to a load, and that has to occur between
samples.” (Id. 32:4—6). Plaintiff claims “Tau measures the rate of discharge of the
capacitor. If we compare it to the time between samples, then we know how much
energy would be discharged compared to other, you know, types of circuits, and so
it's directly responsive to arguments about that limitation.” (Id. 32:23—33:2).
Therefore, Tauof/T is offered to prove that Defendants’ prior “art fails because it
doesn’t discharge from the capacitor to the load.” (Id. 47:7-9).

Defendants assert that Plaintiff is using Tauog/T as an infringement theory
and as a validity theory. (Id. 19:17-18). This prompted the Court to ask Plaintiff's
counsel if he was willing to stipulate Tauos/T will not be used to prove an accused
product or device infringes. (Id. 31:9—10). Plaintiff provided this response:

But, Your Honor, just to be clear, to the extent
QUALCOMM's expert testifies to the extent the accused
products satisfy this limitation, then [the prior art
reference] Sevenhans satisfies this limitation. I think it's
fair for ParkerVision to be able to use commonly
understood principles of circuit components to show,
well, in fact, if you do the math, the prior art behaves
different from the accused products, and that would be

directly responsive to QUALCOMM's expert's arguments
on invalidity in that case.

(Id. 31:14-21).
Simply put, Plaintiff reserves the right to use the Tauos/T calculation to show the
prior art is a voltage sampler that does not teach the invention, including by first

applying the calculation to prove the accused product is an energy sampler, which
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happens to also prove infringement. Defendants object to the calculation, first
disclosed in a rebuttal expert report, from being used to prove an accused product
infringes. (Id. 54:17-21). The prejudice to allowing a new infringement theory after
the close of discovery and the creation of expert reports is obvious.'

To the extent Plaintiffs expert would use Tatos/T to offer an opinion on
whether an accused product is an energy sampler or a voltage sampler, and thus
infringes a patent-in-suit, the theory should have been disclosed in Plaintiff's
infringement contentions and initial expert disclosure. It is of little comfort to
Defendants that the infringement theory is cloaked in an argument that also
attacks the Defendants’ validity contention.? As discussed in the following section,
the Court finds the Tauos/T theory does not satisfy Daubert and should be
excluded both on the failure to disclose the theory in a timely manner and due to
its lack of reliability.

2. Daubert

Federal Rule of Evidence 702 permits “[a] witness who is qualified as an

expert by knowledge, skill, experience, training, or education” to testify in the form

of an opinion. Rule 702 imposes an obligation on district courts to act as

 

1 Plaintiff submits that its response to Defendants’ Interrogatory Number 7, which asks Plaintiff
how it distinguishes prior art, provided notice of the Taugg/T theory. (Doc. 677, 33:4—14). The
Court disagrees that the general assertion that “the prior art doesn’t... teach... sufficient
discharge in the capacitor to the load” provided notice of the Tatiog/T theory or how it would
be applied to the accused products,

2 The Court notes that in his rebuttal report Plaintiff's expert, Dr. Allen, calculated the Tauos/T

values for prior art circuits, two of the Plaintiffs products, and one of the accused products.
(Doc. 542, 16).
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gatekeepers “to ensure that speculative, unreliable expert testimony does not reach
the jury” under the mantle of reliability that accompanies “expert testimony.”
McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253, 1256 (11th Cir. 2002); see
Daubert v. Merrell Dow Pharmas., Inc., 509 U.S. 579, 589 (1993). This gatekeeping
role applies “not only to testimony based on ‘scientific’ knowledge, but also to
testimony based on ‘technical’ and ‘otherwise specialized’ knowledge.” Kumho Tire
Co., Ltd. v. Carmichael, 526 U.S. 137, 141, 147-48 (1999).

The party offering an expert opinion has the burden of establishing three
criteria by a preponderance of the evidence: qualification, reliability, and
helpfulness. See McClain v. Metabolife Int'l, Inc., 401 F.3d 1233, 1238 (11th Cir.
2005); Rink v. Cheminova, Inc., 400 F.3d 1286, 1292 (11th Cir. 2005). First, the
witness must be “qualified to testify competently regarding the matters [s]he
intends to address.” Rink, 400 F.3d at 1291. Indicia of an expert’s qualifications
may be evidenced by education, training, work experience, publication in the
pertinent field, and membership in professional societies. See Am. Tech. Res. v.
United States, 893 F.2d 651, 656 (3d Cir. 1990).

Second, the expert witness must employ “sufficiently reliable” scientific
methods or principles to form her opinions. Rink, 400 F.3d at 1291. The reliability
of an expert’s methodology can be evaluated by considering a wide range of factors,
including: (1) whether the expert bases her opinion on sufficient facts or data; (2)
whether the expert unjustifiably extrapolates her research to reach an unfounded

conclusion; (3) whether the expert considers or accounts for contradictory studies
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or data; (4) the extent to which the methods used rely on the expert’s subjective
interpretations; and (5) whether the expert is being as careful as an expert in the
same field would be in conducting professional work outside the context of paid
litigation. See Daubert, 509 U.S. at 593-94; FED. R. EVID. 702 advisory committee
notes to 2000 amendments.

Third, the expert’s testimony must “assist the trier of fact to understand the
evidence or to determine a fact in issue.” Daubert, 509 U.S. at 591. Expert
testimony helps where it concerns matters beyond the ken of the average juror and
will allow-the jury to understand the evidence or to resolve a factual dispute. See
Kumho Tire, 526 U.S. at 148-49. Conversely, there will be no need for an expert’s
opinion where the jury can decide a disputed issue through the application of
common sense or simple logic considering the evidence and testimony presented
at trial. See Dhillon v. Crown Controls Corp., 269 F.3d 865, 871 (7th Cir. 2001).
Further, like all evidence and testimony, an expert’s opinion must be relevant to
an issue in the case and must hold probative value that outweighs the concerns
listed in Rule 403. Daubert, 509 U.S. at 591.

Defendants challenge the scientific basis behind the Tauog/T calculation.
(Doc. 540, p. 5). They argue Plaintiff “offers no scientific support for the contention
that a person of ordinary skill in the art can differentiate between ‘energy sampler’
circuits and ‘voltage sampler’ circuits by calculating what ParkerVision’s expert
calls ‘Tauos/T’ calculations.” (Id.). Defendants assert that Plaintiff fails to cite “a

single journal article, book, or other piece of scientific literature supporting the use
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of ‘Tauo/T’ calculations.” (Id. at p. 6). Moreover, Defendants note the patents-in-
suit do not discuss the Tauos/T calculations. (Id.).

Defendants explain that Dr. Allen developed the theory using Tauos/T
calculations to determine whether a circuit is an energy sampler or a voltage
sampler. (Doc. 677, 22:19—23:1). Applying Daubert to this opinion, Defendants
argue the Plaintiff has failed to demonstrate the theory has been subject to peer
review or publication, does not provide the potential rate of error, and fails to “link
Tau-off over T as a calculation to whether or not something is a voltage sampler or
an energy sampler.”3 (Id. 23:2-11, 23:21—24:1). And Defendants submit Plaintiff
failed to perform simulations in support of its theory. See Becton, Dickinson & Co.
v. Tyco Healthcare Grp., LP, 616 F.3d 1249, 1257 (Fed. Cir. 2010) (holding plaintiff
failed to prove literal infringement by not producing test data or a live
demonstration).

Defendants further contend the theory lacks reliability, because Plaintiff's
experts disagree over whether one should use a 75% off period or a 25% off period
when performing the calculation. (Doc. 540, p. 6). Dr. Allen, who first devised
Tauof/T as a calculation for discerning circuits as either voltage sampler from
energy sampler, used a 25% off time in his calculation and admitted at deposition

that he should have used a 75% off time. (Doc. 677, 25:13—23).4 Dr. Allen was

 

3 Defendants admit that the “RC time constant Tau was known” and “that time was known.”
(Doc. 677, 23:14-15). However, Defendants aver there is no evidence showing the calculation
written as Tau over T. (Id. 23:15-17).

4 Allen Deposition (Doc. 527-13, 360:2-10).
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replaced by Dr. Steer who disagreed with Dr. Allen and opined the correct Tau-off
time is 25%.5 (Id. 26:1-11). Defendants note that when Tauor/T is applied to
circuits which Plaintiff has previously characterized as energy samplers, (Doc. 327,
pp. 15-16), the calculation shows them to be voltage circuits, further calling the
reliability of the theory into question.® (Id. 18:14—19:5).

Plaintiff tries to salvage the Tauog/T theory by arguing that the calculation is
“textbook.” (Doc. 527, pp. 4—5). Plaintiff submits that the “RC time constant Tau
is expressed in seconds and relates to the time required to charge or discharge the
capacitor through the resistance.” (/d. at p. 5). Plaintiff further argues that
Defendants’ expert, Dr. Razavi, states in his report that “accurate mathematical
models can be created for all common circuit components,” including “resistors,
capacitors, and transistors.” (Doc. 677, 29:17-20). Dr. Razavi’s report, however, is
discussing the computer simulations he performed of circuits disclosed in the prior
art, described in the patents, and the accused products. (Doc. 533, {1 39). In that
context, Dr. Razavi describes how mathematical models of a component in a circuit

simulation can describe performance characteristics of the component. (Id.).

 

5 Plaintiff claims the disagreement between Dr. Allen and Dr. Steer is not about methodology

or reliability, but the Court disagrees, especially where the calculation as applied contradicts
the embodiments disclosed in the patent.

6 Figure 126A, 127A, and 129A have a Tauor/T value of 4040.00, well over the threshold set by
Dr. Allen for voltage sampler circuits. (See Slide 25, Qualcomm Presentation; Razavi Decl.
Doc. 542, 17 32-34, 37-39). A value over 200 and the circuit does not qualify as an energy
sampler. (Doc. 540, p. 7).
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Dr. Razavi does not opine that Tauof/T calculations reliably create a value
above which a circuit is a voltage sampler and below which it is an energy sampler.
As Defendants correctly observe, Plaintiff fails to offer a single scientific
publication, test, or simulation that shows its Tauo#/T calculation reliably
differentiates between an energy sampler and a voltage sampler.7 The jury will be
left with a credentialed expert offering the opinion that a calculation over 200 is a
voltage sampler circuit without independent data supporting the reliability of the
opinion.

Simply put, the issue is not whether Tauof/T is a recognized equation.
Rather, the dispute is over the application of the calculation to distinguish circuits
as energy samplers or voltage samplers. As Dr. Razavi states in his declaration, the
numerical value proposed by Dr. Allen and Dr. Steer is arbitrary and is not
supported by intrinsic or extrinsic evidence. (Doc. 542, {] 24). See MidAmerica C2L
Inc. v. Siemens Energy, Inc., No. 20-11266, 2022 WL 456830, at *9 (11th Cir.
2020) (“Something [does not] become ‘scientific knowledge’ just because [it is]
uttered by a scientist; nor can an expert’s self-serving assertion that his conclusions
were derived by the scientific method be deemed conclusive.” (citations omitted)).
Accordingly, Plaintiff has failed to provide a reliable basis for its Tauog/T theory,

and Defendants’ Motion to exclude the Tatog/T theory is granted.

 

7 See Declaration of Dr. Razavi (Doc. 542, { 21).

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B. Collateral Estoppel

1, Preclusive Effect of Factual Findings at the Board and
Affirmed by the Federal Circuit

The issue before the Court is whether factual findings regarding the
teachings of prior art that were necessary to the judgement entered by the PTAB
on the IPR petitions and affirmed by the Federal Circuit have preclusive effect such
that Plaintiffs expert witnesses are prohibited from offering opinions that
contradict the factual findings. The issue is complicated by the fact that the IPR
petitions brought by Qualcomm challenge the validity of apparatus and method
claims of the ‘940 patent. See ParkerVision, Inc. v. Qualcomm Inc., 903 F.3d 1354,
1357-58 (Fed. Cir. 2018). The Board found certain apparatus claims of the ‘940
patent were obvious and therefore unpatentable, and the judgment was affirmed
by the Federal Circuit. Id. at 1359. There is no dispute over the preclusive effect of
the Board’s invalidity determinations that were affirmed by the Federal Circuit.

The Board, however, found Qualcomm failed to prove invalidity of certain
method claims of the ‘940 patent, because they “d[id] not speak to whether a
person of ordinary skill in the art would have any reason” to combine the teachings
of the prior art referenced to achieve the claimed invention. Id. at 1363. The
Federal Circuit explained the distinction between proving invalidity when
challenging an apparatus claim as opposed to a method claim, as follows:

While Qualcomm was only required to identify a prior art
reference that discloses an apparatus “capable of” performing
the recited functions to prove that the apparatus claims would
have been obvious, more was required with respect to the
method claims. Specifically, Qualcomm needed to present

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evidence and argument that a person of ordinary skill would
have been motivated to operate Nozawa [the prior art
reference] in a manner that satisfied the . . . [claim] limitation.

Id.

Therefore, the Board made factual findings regarding what Qualcomm’s prior art
references disclose or teach, finding fault only with Qualcomm’s failure to
demonstrate that a person having ordinary skill in the art (“PHOSITA”) would
have any reason to operate or combine the prior art in a manner that satisfied the
limitation. Id.

Defendants submit the Federal Circuit’s factual findings regarding what the
prior art is “capable of’ performing has preclusive effect such that Plaintiffs
experts should be prevented from offering opinions contrary to those findings.
(Doc. 677, 85:9-86:8). Defendants concede that Plaintiffs expert should be
permitted to offer opinions on whether a PHOSITA would be motivated to use the
prior art to accomplish that which it is “capable of’ doing without relitigating
factual findings regarding what the prior art teaches. (Id.). Plaintiff counters that
collateral estoppel or preclusion of an issue or fact does not apply because a
different burden of proof applies before the Board then at trial. (Doc. 527, p. 9;
Doc. 677, 83:10-19). Moreover, Plaintiff submits the factual findings by the Board,
affirmed by the Federal Circuit, should not extend to the ‘372 patent, because the

claim limitations are different.8 (Doc. 677, 79:10—80:3).

 

8 Plaintiff's argument distinguishing the claim terms in the ‘940 and ‘372 patents were not
raised in their brief and was presented for the first time at the hearing.

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2. Standard of Review
To apply collateral estoppel or issue preclusion to an issue or fact, the
proponent must demonstrate the following:

(1) the issue or fact is identical to the one previously litigated;
(2) the issue or fact was actually resolved in the prior
proceeding; (3) the issue or fact was critical and necessary to
the judgment in the prior proceeding; (4) the judgment in the
prior proceeding is final and valid; and (5) the party to be
foreclosed by the prior resolution of the issue or fact had a full

and fair opportunity to litigate the issue or fact in the prior
proceeding.

See In re Microsoft Corp. Antitrust Litig., 355 F.3d 322, 326 (4th Cir. 2004).

As the Fourth Circuit explained, the doctrine of “collateral estoppel” or “issue
preclusion” is a subset of the res judicata genre. Applying collateral estoppel
“forecloses the relitigation of issues of fact or law that are identical to issues which
have been actually determined and necessarily decided in prior litigation in which
the party against whom [collateral estoppel] is asserted had a full and fair
opportunity to litigate.” Id. at 326 (citing Sedlack v. Braswell Servs. Group,
Inc., 134 F.3d 219, 224 (4th Cir. 1998) (internal quotation marks and citation
omitted)). To foreclose relitigation of a factual finding it must have been “essential
to the judgment,’ meaning that the judgment must be ‘dependent upon the
determinations.” Id. (citing RESTATEMENT (SECOND) OF JUDGMENTS § 27 & cmt. h
(1982)).

Narrowing the focus of issue preclusion and collateral estoppel to patent
litigation, the Federal Circuit held in XY v. Trans Ova Genetics, 890 F.3d 1282,

1294 (Fed. Cir. 2018) that “an affirmance of an invalidity finding, whether from the

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district court or the PTAB has a collateral estoppel effect on all pending or co-
pending actions.” This is because “a patentee, having been afforded the
opportunity to exhaust his remedy of appeal from a holding of invalidity, has had
his ‘day in court,’ and a defendant should not have to continue ‘defend[ing] a suit
of infringement of [an] adjudged invalid patent.” Id. (citations omitted); cf. Papst
Licensing GMGH & Co. v. Samsung, 4.03 F. Supp. 3d 571, 601-602 (E.D. Tex. 2019)
(declining to give preclusive effect to a finding of invalidity by the PTAB where
finding was not appealed to the Federal Circuit).

In B & B Hardware, Inc. v. Hargis Indus., Inc., 575 U.S. 138 (2015), the
Supreme Court addressed the preclusive effect of the Trademark Trial and Appeal
Board’s (“TTAB”) conclusion that a mark should not be registered because the
likelihood of confusion. The Court held that its cases and the Restatement
(Second) of Judgments “make clear that issue preclusion is not limited to those
situations in which the same issue is before two courts. Rather, where a single issue
is before a court and an administrative agency, preclusion also often applies.” Id.
at 148. The Court concluded it “does not matter that the TTAB and the Eighth
Circuit use different factors to assess likelihood of confusion,” because “[m]inor
variations in the application of what is in essence the same legal standard do not

defeat preclusion.” Jd. at 154.

 

9 The decision of the TTAB was not appealed to the Federal Circuit.

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3. Discussion

In the instant case, Defendants asserted prior art reference to invalidate
certain method claims of the ‘940 patent. The Board made factual findings
concerning the teachings of the prior art, and those findings were critical and
necessary to the Board’s judgment that Qualcomm failed to carry the burden of
proving invalidity.*° The Board’s judgment was appealed and was affirmed by the
Federal Circuit, and Plaintiff had a full and fair opportunity to dispute Defendants’
contentions regarding what the prior art was capable of doing; that is, what the
prior art teaches. Accordingly, Plaintiff's expert may not offer opinions at trial that
contradict the Board’s factual findings on what the prior art teaches. See In re
Microsoft Corp., 355 F.3d at 326. Nor may Plaintiffs experts contest at trial the
Board’s findings of invalidity which were affirmed on appeal. See Trans Ova
Genetics, 890 F.3d at 1294. Plaintiff's expert, however, may offer opinions that a
PHOSITA would not be motivated to use the prior art to accomplish that which it
is “capable of” doing when discussing claims that were not invalidated by the Board

and the Federal Circuit." For these reasons, Defendants’ Motion is granted.

 

10 For example, the Federal Circuit affirmed the Board’s factual finding that Nozawa discloses a
plurality of integer-multiple harmonics, and Krauss and Ariie disclose a “first oscillating
signal.” Qualcomm Inc., 903 F.3d at 1360—61, 1364.

11 The Court recognizes the burden of proof before the PTAB is lower than the burden
Defendants carry at trial proving invalidity. As to claims invalidated by the PTAB and affirmed
on appeal, the judgment has preclusive effect for the reasons discussed in this Order. As for
factual findings regarding the teachings of prior art references where the Board found
Qualcomm failed to prove invalidity, the Court finds there is no rational basis for disregarding

the Board’s determination, affirmed on appeal, simply because the finding is as to an element
of the defense.

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The parties shall meet and confer in an attempt to reach agreement on the
Board’s factual findings regarding what the prior art teaches and the impact on
Plaintiff's experts’ testimony. If agreement cannot be reached, the parties may
submit briefs on the issue no later than May 2, 2022, with responses due by May
16, 2022.

C. PARKERVISION I

The issue is whether factual findings by the Federal Circuit in ParkerVision,
Inc. v. Qualcomm Inc., 621 F. App’x 1009 (Fed. Cir. 2015) (hereafter “ParkerVision
I’), following a trial in the Middle District of Florida concerning how the accused
devices function and interpreting two prior art references, are entitled to
preclusive effect. Defendants move the Court for an Order preventing Plaintiffs
new expert, Dr. Steer, from offering opinions inconsistent with positions taken by
Plaintiffs former expert, Dr. Prucnal, and contrary to the factual findings
articulated by the Federal Circuit.!2 (Doc. 540, pp. 13-15). Plaintiff argues the
factual findings are not entitled to preclusive effect because different claims and
different patents are at issue here, such that the issues of law or fact were not
actually litigated in ParkerVision I. (Doc. 527, pp. 9-12). The Court disagrees that
the issue of fact preclusion as it relates to the accused devices or products and the

Federal Circuit’s interpretation of the prior art is inapplicable simply because

 

12 Plaintiff does not deny that Dr. Steer intends to offer, if permitted, opinions regarding the
manner in which the accused devices function that contradicts the factual findings made by
the Federal Circuit. (Doc. 527, p. 9). Similarly, Plaintiff acknowledges its expert will take issue
with the teachings of DeMaw and Weisskopf (the prior art). (Id. at pp. 10—11).

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different patents and additional claim limitations are present. If Defendants were
asking this Court to give preclusive effect to the Federal Circuit’s factual findings
as to the scope of claims at issue in ParkerVision I, Plaintiff's point may be well-
taken, assuming the claims at issue here are materially different. But that is not the
case. 13 |
1. The Accused Devices

In ParkerVision I, “Dr. Prucnal’s testimony focused on Qualcomm’s
Magellan product, but he testified that his opinion regarding the Magellan product
applied to-each of Qualcomm’s accused products.” ParkerVision I, 621 F. App’x at
1012. Plaintiff stipulated at oral argument that the accused products involved here
are same as those involved in ParkerVision I. (Doc. 677, 98:3—6, 98:19—99:2). On
appeal, the Federal Circuit discussed in depth the expert testimony adduced at trial
regarding how the accused devices function in reviewing the district court’s
decision to grant Qualcomm’s motion for judgment as a matter of law (“JMOL”)
of non-infringement and its denial of JMOL on invalidity. Id. The Federal Circuit
affirmed the trial court’s finding of non-infringement and reversed the denial of

JMOL on invalidity. Id. at 1012, 1024.

 

13. The standard of review is the same as set forth in section II B of this Order. See In re Microsoft
Corp. Antitrust Litig., 355 F.3d 322, 326 (4th Cir. 2004); see also Harris Trust and Sav. Bank
v. Ellis, 810 F.2d 700, 705 (7th Cir. 1987) (“When one party introduces evidence on a
dispositive issue of fact, and an adverse party with opportunity and motive to contest the

presentation chooses not to, the ensuing finding is entitled to the same respect as one litigated
to the hilt.”).

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The Federal Circuit made the following findings of fact each of which was
critical and necessary to the judgment rendered: (1) “ParkerVision’s infringement
expert conceded that in the accused produces the baseband signal was created
before, or ‘upstream from,’ the storage capacitor”; (2) “Dr. Prucnal testified that
the accused products . . . [use] a specific type of circuitry called a “double-balanced
mixer”; (3) “[i]t is undisputed that double-balanced mixers . . . can be used to
convert high-frequency carrier signals into low-frequency baseband signals”; (4)
Dr. Prucnal admitted “the double-balanced mixer create the baseband signal”; and
(5) in its opinion on ParkerVision’s motion for reconsideration, held the double-
balanced mixer eliminates the carrier signal. See ParkerVision I, 621 F. App’x at
1012-14; ParkerVision I, 627 F. App’x at 921-24.

The Court finds the issue of fact here—how the accused products operate—
is identical to the issue of fact in ParkerVision I, the issue of fact was resolved in
ParkerVision I, the issue of fact was critical and necessary to the judgment in the
prior proceeding, the judgment in the prior proceeding is final and valid; and the
party to be foreclosed by the prior resolution of the issue or fact—ParkerVision—
had a full and fair opportunity to litigate the issue or fact in the prior proceeding.
Accordingly, the issues of fact decided in ParkerVision I are entitled to preclusive
effect, and ParkerVision may not offer testimony or argument to contradict or

rebut those factual findings.

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2. The Prior Art References

In ParkerVision I, the Federal Circuit found DeMaw discloses a circuit that
includes two transistors that qualify as switches, and these switches control the
charging and discharging of two energy storage capacitors to generate the
baseband signal. ParkerVision I, 621 F. App’x at 1022-24. The Federal Circuit
found “the transistors designated as Q1 and Q2 in DeMaw correspond to the first
and second switches in Figure 16H.” ParkerVision I, 621 F. App’x at 1022.
Moreover, the Federal Circuit observed that “Dr. Razavi testified that ‘charging and
discharging of the first and second capacitors’ occurs when the first and second
switches (Qi and Q2) ‘are turned on and off at a certain rate.” Jd. at 1023.
Therefore, the Federal Circuit held,= “[b]ecause there is no basis on which a
reasonable jury could reject the evidence the DeMaw anticipated claim 18 of the
‘342 patent, we reverse the district court’s denial of Qualcomm’s motion for JMOL
of invalidity regarding claim 18.” Id. The Federal Circuit’s interpretation of DeMaw
was critical and necessary to the judgment.

Plaintiff does not quarrel with the Federal Circuit’s factual finding, but it
argues DeMaw would not satisfy the “sampling” limitation at issue in this case.
(Doc. 527, p. 11). This may be true, and nothing prevents Plaintiff from presenting
evidence that DeMaw, as interpreted by the Federal Circuit, does not teach the
sampling limitation which may or may not be fatal to Defendants’ invalidity
defense. What Plaintiff may not do is offer testimony that distinguishes or

disagrees with the factual findings of the Federal Circuit.

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The Weisskopf reference is entitled “Subharmonic Sampling of Microwave
Signal Processing Requirements,” and it teaches a “storage module [that] receives
non-negligible amounts of energy transferred from a carrier signal at an aliasing
rate.”'4 ParkerVision I, 621 F. App’x at 1018-22. This factual finding by the Federal
Circuit has preclusive effect. But the issue is not resolved quite so easily, because
Plaintiffs expert opines the issue is whether Weisskopf teaches the transfer of
nonnegligible energy to a load, as opposed to an energy storage device. (Doc. 677,
95:1—6; Doc. 527, p. 11). Defendants argue the ‘940 patent does not recite a “load,”
and Plaintiff is introducing a term not found in the claims and not addressed
during the claim construction proceedings. Defendants’ objection goes beyond the

scope of collateral estoppel, and the parties have not briefed whether Dr. Steer’s

 

14 The Federal Circuit considered the testimony of Mr. Sorrells, one of the ParkerVision
inventors, and found the following:

Mr. Sorrells explained at trial that transferring a non-negligible amount of energy
into the storage capacitor means ‘that you have to transfer enough energy to
overcome the noise in the system to be able to meet your specifications.’ . . .

Mr. Sorrells’ testimony thus establishes that to determine whether or not energy
in amounts distinguishable from noise has been transferred from the carrier
signal, one may look to whether the down-converting circuit functions in practice.
If a circuit successfully down-converts, that is proof that enough energy has been
transferred to overcome the noise in the system.

The Weisskopf reference discloses such a down-converting system. Weisskopf
touts the ability of the disclosed circuit to down-convert a high frequency carrier
signal to a baseband ‘with great efficiency and without loss of fidelity.’ Dr. Razavi
testified, without contradiction, that the Weisskopf system is designed to maximize
the amount of energy transferred from the carrier signal. The fact that Weisskopf
transfers as much energy as possible from the carrier signal, resulting in a
commercially viable down-converting system is proof that the system successfully
distinguishes the transferred energy from noise. No reasonable jury could have
concluded otherwise.

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anticipated testimony introduces a new term (load) not found in the claims of the
‘940 patent and not addressed in the claim construction.

For these reasons, Defendants’ Motion to give preclusive effect to the
Federal Circuit’ factual findings regarding the accused products and the prior art
(DeMaw and Weisskopf) is granted. Plaintiff may not offer testimony or evidence
inconsistent with the Federal Circuit’s factual findings. Whether “energy to the
load” appears in the claims of the ‘940 patent is reserved for another day but suffice
to say an expert may not change the claim limitations to suit a preferred theory.

D. . Motion to Strike Unreliable and Speculative Infringement
Opinions due to Lack of Testing and Simulation

The issue before the Court is whether infringement opinions offered by Dr.
Allen, Dr. Steer, and Mr. Sorrell are unreliable because their opinions are not
supported by testing and simulation. Defendants argue that Plaintiffs experts, and
its employee Mr. Sorrell, failed to apply the same level of intellectual rigor that
characterizes the practice of an expert in the relevant field (here circuit analysis)
in forming their expert opinions. (Doc. 677, 120:4-13). See Kumho Tire, 526 U.S.
at 152. Plaintiff argues the failure to perform testing or simulations to validate the
expert’s opinions and theories goes to the weight, not the admissibility of the
expert’s testimony. (Doc. 527, p. 13). See Board of Regents, The Univ. of Texas
System v. Ethicon, Inc., No. A-17-CV-001084-LY, 2020 WL 3580148, at *3 (W.D.
Tex. Apr. 21, 2020) (citation omitted). Plaintiff claims they did not create

simulations because “[t]he tests benches Qualcomm gave [ParkerVision] were

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horrible.” (Doc. 677, 130:16-18). The point being that Plaintiffs experts elected to
rely on design review documents, testing review documents, schematics, and
Defendants’ simulations in conjunction with mathematical analysis to support
their opinions. (/d. 132:16-133:2). Plaintiff submits Defendants’ Motion is more
about the strength of the evidence than reliability. id. 135:6—7).
1. Feasibility and Importance of Creating Simulations

Defendants’ counsel stated during oral argument that in ParkerVision I
Plaintiffs expert, Dr. Prucnal, created simulations which he later abandoned. (Id.
121:20-122:5). And in ParkerVision’s case before the ITC, Dr. Steer created
simulations, and in the ParkerVision case initiated in the Jacksonville Division, Dr.
Allen used simulations.'5 (Jd. 124:17—125:17; Slide 68). In the instant case, Plaintiff
sought access to Defendants’ circuit schematics in electronic form to simulate how
the circuit performs. (Doc. 214, 9:3-10:8). Plaintiff argued that relevance of this
information in the following terms:

Now, this is very valuable and important information.
Because the analogy that I’ve heard this is, circuits are all
made up of very familiar components, much like keys on a
piano. And just because you see those keys laid out in a circuit
doesn’t mean you know what tune they’re set up to play.

That all depends on these different values that we’ve
discussed. And these are very complicated. And so, of course,
during the course of designing a circuit, it sometimes happens
that the engineer thought that it would work a certain way and
it doesn't work that way. It works a different way.

 

15 Plaintiff did not contest the accuracy of Defendants’ representation at oral argument.

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The critical thing to understand here is, it's really not
possible to test the actual performance of a circuit in one of
these computer chips without simulation.

(Id. 10:9-23) (emphasis added).

Plaintiff explained that while it is possible to test a chip by “putting probes
of some kind physically on the circuit [you] would actually distort the performance
of the circuit. So, it’s really not measurable in a physical sense.” (Id. 11:9—-12).
Accordingly, engineers use simulations to test the circuit, and this can be
accomplished with a software tool called Cadence which Plaintiff and Defendants
both use. (Id. 11:13-22). Plaintiff characterized simulations as “an important
piece of evidence” in view of ParkerVision I where they did not present simulations
to the jury. (/d. 11:23-12:2, 12:19—13:7). Plaintiff claimed “[w]e want to be able to
do the simulation that will provide valuable evidence of the actual operation of the
circuits in question.”?7 (Id. 13:7-9).

Plaintiffs original contention that simulations are an important piece of
evidence because “it’s really not possible to test the actual performance of a circuit
in one of these computer chips without simulation” is consistent with the
literature. Defendants reference two publications: NEIL H.E. WESTE & DAVID

HARRIS, CMOS VLSI DESIGN (3d ed. 1993), and PHILLIP E. ALLEN & DOUGLAS R.

 

16 Defendants made available to Plaintifi} i, so Plaintiff

could run simulations. (Doc. 540, p. 18).

17 At oral argument, Plaintiff excused their failure to create simulations on the quality of the test
benches provided by Defendants. However, Plaintiff never moved the Court for any relief from
the allegedly inadequate source data. Plaintiff is a sophisticated litigant, rendering its
justification for failing to create simulations, which they characterized as very valuable and
important evidence, unconvincing. (Doc. 677, 132:5—9, 133:3-21).

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HOLBERT, CMOS ANALOG CIRCUIT DESIGN (2d ed. 2002). (Doc. 499-32; 499-29).
CMOS VLSI Design teaches “VLSI circuits are complex and modern transistors
have nonlinear, nonideal behavior, so simulation is necessary to accurately predict
detailed circuit behavior.” (Doc. 499-32, p. 273). And in CMOS Analog Circuit
Design, Plaintiffs expert, Dr. Allen, discusses the differences between integrated
and discrete analog circuit design. (Doc. 499-29, p. 3). He explains that “[u]nlike
integrated circuits, discrete circuits use active and passive components that are not
on the same substrate.” (Id.). Moreover, the “geometry of active devices and
passive components in integrated-circuit design are under the control of the
designer,” and as a result “the designer must turn to computer simulation methods
to confirm the design’s performance.” (Jd.).

Plaintiff relies on a footnote contained in the rebuttal report of Dr. Razavi,
Defendants’ expert, stating “The Lepton LLDR, like Qualcomm’s other design
reviews, is the type of document that experts in the field would reasonably consider
in evaluating the operation of a circuit.” (Doc. 573-1, 1 83, n.59). Plaintiffs reliance
is misplaced because Dr. Razavi does not opine one may ignore simulations. To the
contrary, Dr. Razavi states in his report that he “performed computer simulations
of circuits disclosed in the prior art, simulations of circuits described in the
Asserted Patents, and simulations of the Accused Receive Devices. Computer
simulation of circuits is common in the field of RF circuit design.” Ud. { 39).

Having staked out their position that simulations are vital to circuit analysis,

Plaintiff reverses direction and now downplays the importance of simulations.

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Making matters more incomprehensible, Plaintiff defends its decision to forgo
simulations by pointing to the unreliability of Defendants’ core data while
simultaneously claiming their experts’ opinions “rely on Qualcomm’s schematics
and technical documents.” (Doc. 527, p. 12; Doc. 677, 149:18—22). As Defendants
noted during oral argument, Plaintiff cannot have it both ways. (Doc. 677, 149:24-—
150:9).
2. Reliability of ParkerVision’s Experts’ Methodology

Defendants contend Plaintiffs experts’ opinions are unreliable in the
absence of simulations. For example, Defendants claim Plaintiffs experts opine
that the accused devices “store” “non-negligible energy” in the TX filter capacitor,
but they fail to simulate the circuits to prove this occurs. (Doc. 540, p. 19). In
ParkerVision I, Defendants proposed the following construction for the claim term
“transferring non-negligible amounts of energy from the carrier signal:”
“transferring energy (i.e., voltage and current over time) in amounts that are
distinguishable from noise.” (3:11-cv-719; Doc. 110-2). Defendants offered the
same “distinguishable from noise” construction for the claim term “receives non-
negligible amounts of energy transferred from a carrier signal.” 8 (Id.). Yet, as Dr.

Razavi states in his rebuttal report, “Dr. Allen provides his opinions concerning

 

18 Judge Dalton’s Claim Construction Order recounts that “ParkerVision contends that one
skilled in the art would, after reading all of the disclosures in the patents-in-suit, recognize
that these terms refer to techniques that involve transferring non-negligible energy in
amounts distinguishable from noise.” (Doc. 243, p. 11). The Court adopted ParkerVision’s
proposed construction requiring non-negligible amounts of energy to be distinguishable from
noise. (Id. at p. 13).

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what constitutes negligible and non-negligible energy without considering noise.”
(Doc. 573-1, {| 273; see also, Dr. Allen Report, Doc. 573-3). This is important
because the Court in ParkerVision I ruled that non-negligible energy is energy that
is distinguishable from noise. (Doc. 573-1, { 275).

Accordingly, Dr. Razavi is correct that Dr. Allen’s opinion that in an energy
sampler, non-negligible energy is transferred to the load when the switch is open
is unreliable in that he does not take “distinguishable from noise” into
consideration. (See Doc. 573-3, { 48). Defendants correctly argue that “[w]Jithout
energy or noise values, [Dr. Allen] has no basis for determining whether energy

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stored in the TX capacitor is ‘non-negligible.’”” (Doc. 540, p. 19). Plaintiff attempts
to defend its failure to consider noise and to run simulations by arguing that “the
amount of energy stored on the capacitors .. . can be calculated from information
provided by Qualcomm schematics.” (Doc. 527, p. 17). At oral argument, Plaintiff
claimed Dr. Allen’s calculations show energy stored on the capacitor. (Doc. 677,
138:13—139:2). There are two problems with Plaintiffs argument: first, as
Defendants note Dr. Allen fails to disclose the values of the variables in his
calculation (for example, Imix). Secondly, to the extent that Plaintiff is relying on its
Tauoff/T calculation, the Court has rejected this methodology. And, finally, as
previously discussed, Dr. Allen failed to employ a simulation to confirm his theory,
rendering his methodology unreliable and his opinion inadmissible.

Next, Defendants challenge Dr. Steer’s opinions that the accused products

perform “gating” or are “switch modules” as required by the construction of these

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claim terms. (Doc. 540, p. 20). Defendants argue it is improper for Dr. Steer to take
the position that he is not required to conduct a simulation because he relied on
other evidence without citing the “other evidence” in his report. (Doc. 677, 128:11-
16). That said, Dr. Steer’s report contains numerous references to gating, and he
identifies switches on schematics which he contends performs the gating function.
(See, e.g., Doc. 573-8, § 170). And Plaintiff relied at oral argument on the
deposition testimony of a Qualcomm principal engineer and manager who testified
that “[w]Jhen signal of the gate goes over a voltage which is higher than the
threshold voltage of the mixer devices, then the mixer devices allow the current to
pass through.”!9 (Doc. 573-11, 33:18-23). However, Dr. Razavi notes in his rebuttal
report that Dr. Steer failed to “examine the currents flowing through the transistors
and show that these currents are passed when the LO level is high and the
transistor is ‘closed,’ and the currents are stopped (blocked) when the LO level is
low and the transistor is ‘open.” (Doc. 573-1, { 556). While Dr. Steer may suspect
that the transistors in the accused upconverters act as switch modules or perform
gating, he fails to confirm that hypothesis via simulation.

To complicate matters further, Dr. Razavi observes in his rebuttal report that
Plaintiffs expert, Dr. Birkett, stated if “the FETs are unbiased, they operate near
saturation (not in full saturation on or off). Therefore, the transistors are not really

‘switches,’ but act as quasi switches because they become resistors when not fully

 

‘9 Plaintiff also asked if he knew the threshold voltage for the transistors, but
he did not recall the threshold. (Doc. 573-11, 34:2-6).

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turned in.” (Id. 1557). Dr. Razavi states that Dr. Steer fails to show that the accused
products are not “unbiased.” (Id.). The failure to conduct a simulation creates the
very problem predicted by Plaintiff's counsel when they requested access to data

to conduct simulations:

... circuits are all made up of very familiar components, much
like keys on a piano. And just because you see those keys laid
out in a circuit doesn’t mean you know what tune they’re set
up to play.

The critical thing to understand here is, it's really not possible
to test the actual performance of a circuit in one of these
computer chips without simulation.

(Id. 10:9—23).

Here, Dr. Steer can theorize that the accused products satisfy (infringe) the
asserted claims of the ‘940 and ‘372 patents, which require a device that can take
two states, open and closed—the proverbial keys on a piano—but absent a
simulation he cannot speak to the actual performance of the circuit. This is fatal to
Dr. Steer’s methodology, and his opinion concerning whether the accused
devices/products perform “gating” or are “switch modules” as required by the
construction of these claim terms is inadmissible.

Defendants also challenge Dr. Steer’s opinion that the accused products
have harmonically rich signals. (Doc. 540, p. 20). Defendants contend Dr. Steer
failed to simulate or calculate the output and failed to show any specific frequencies
would exist in the output. (/d.). Plaintiff points to anf} low level test
review harmonic test showing a second and third harmonic power level and low

level design review document as evidence of a harmonically rich signal. (Doc. 677,

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145:12—146:14). Plaintiff also quotes the deposition testimony of
EEE vho described the upconverter mixer as adding the LO signal and the
baseband signal, resulting in “a whole spew of harmonics” and explaining that
“what you would get—third harmonic is a very strong value, fifth harmonic, sixth
harmonic, all those things will get generated.” (Doc. 573-13, 251:2—252:13).

Dr. Allen opines in his rebuttal report that because Dr. Steer fails to analyze
any particular frequencies or tones used by the accused products, he cannot show
there are integer multiple harmonics.2° (Doc. 573-1, 470). At best, Dr. Steer has
demonstrated that “a whole spew of harmonics of the LO mixing with the signal.”
While Plaintiff does not address in its response whether “sideband frequencies”
may also compromise a “plurality of harmonics,” the Court notes that Dr. Steer’s
report fails to establish that the sideband frequencies generated by the accused
double-balanced mixers include a plurality of harmonics. For these reasons, Dr.
Steer’s opinions concerning a plurality of harmonics and harmonically rich signals
are inadmissible.

Finally, Defendants submit the Court should not allow the opinions of David

Sorrells, an employee of Plaintiff, because he has never seen Defendants’

 

20 Plaintiff took the position before the Federal Circuit that “the determination of the presence
of integer multiple harmonics depends on the specific LO and BB signals.” (Doc. 573-1, { 470).
That is, either fLO+fBB or fLO-fBB. Ud. 473). And Dr. Allen attests that Plaintiffs own
inventors acknowledged during deposition testimony the need to analyze frequencies and
tones to show integer multiple harmonics. (Jd. at | 470). Defendants do not contest the
accuracy of this assertion, and it should be reminded that the proponent of the expert has the
burden on establishing admissibility.

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schematics or confidential information. (Doc. 540, p. 20). In response, Plaintiff
offers the following defense of its expert:

Mr. Sorrells served an expert report and was deposed by
Qualcomm on the substance of that report (he was also
deposed in his personal capacity). See Ex. 26 (Sorrells Rpt.).
In his report, Mr. Sorrells explains that he analyzed a
“teardown” of a Qualcomm product and other non-
confidential Qualcomm documents to which he applied the
Court’s claim construction.

(Doc. 527, p. 19).

That is the sum and substance of Plaintiff's argument that Mr. Sorrells’ opinions
satisfy Daubert. Again, it bears repeating that the party offering an expert opinion
has the burden of establishing three criteria by a preponderance of the evidence:
qualification, reliability, and helpfulness. See Metabolife Int'l, Inc., 401 F.3d at
1238; Cheminova, Inc., 400 F.3d at 1292. Simply put Plaintiff has failed to carry
its burden of establishing the reliability and helpfulness of Mr. Sorrells’ opinions—
whatever they may be. Accordingly, Mr. Sorrell is excluded.

E. Motion to Strike ‘372 Patent Infringement Opinions

The issue is “[w]hether ParkerVision’s expert [Dr. Steer] should have based
his infringement contentions on ‘layout’ documents, as opposed to ‘schematic’
documents ... .” (Doc. 527, p. 19). Defendants argue that Dr. Steer’s opinions
regarding the summing and combining limitations of the ‘372 patent should be
struck because he failed to take into consideration layout documents, rendering his
opinions unreliable. (Doc. 540, p. 21). That is, Defendants contend that “[w]ithout

looking at the layouts Qualcomm produced Dr. Steer could not determine whether

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the [accused] products practice the summing order required by the asserted
claims. (/d., quoting Dr. Razavi’s Reb. Rpt. 1] 664-674, Doc. 573-1).

The parties do not dispute that the asserted claim of the ‘372 patent require
summing signals in a particular order. (Doc. 540, pp. 21-22, quoting Doc. 573-1,
{1 664, 681-682, 673, 679). And they do not quarrel over the fact that summing
limitations are all about the physical layout of a device; that is, how things are
connected inside the chip. (Doc. 677, 161:10—12; 162:20—24). Finally, the parties
agree that schematics do not show how the different components are connected or
how they sum. (Id. 164:1—-2). Since schematics are merely an abstract estimation
of the circuit, they “are not meant to show how the circuitry is actually
implemented on the chip.” (Doc. 540, p. 21, quoting Doc. 537-1, {| 668).2!
Defendants contend Dr. Steer’s failure to look at the layout of the accused products
is fatal to his opinion, and the Court agrees.

Dr. Steer attempts to excuse his failure to consider the layouts by arguing
that Defendants’ engineers should revise; that is, back-annotate, schematics with
any changes made in layouts. (Doc. 540, p. 22). That said, Dr. Steer attended the
deposition of Qualcomm Senior Director, MJ who explained that
Defendants’ engineers use layout “extractions” to simulate actual designs rather

than back-dating schematics. (/d. at p. 23). Defendants also argue that Dr. Steer

 

21 Dr. Razavi’s rebuttal report provides that “[o]ne must look to the layout of the device to show
whether there is a node connecting the outputs of the first and second gating means at which
there exists an in-phase phase-modulated harmonically rich signal.” (Doc. 540, p. 21, quoting
Doc. 573-1, 4 668).

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failed to present any evidence showing Defendants’ engineers back-annotated the
schematics for the accused products. (Jd. at p. 22). Plaintiff offers no response to
this contention and fails to cite any record evidence to show schematics were back-
annotated.22 Moreover, Plaintiff clearly appreciated the importance of layouts to
understanding how the circuitry is implemented on the chip, because they moved
the Court to direct Defendants to produce the layouts. Dr. Allen, Plaintiffs expert,
testified at the hearing as follows:

[ParkerVision counsel] Now, in layman’s terms, if you can
help us, why is the information that would not be on the
schematic, the hidden information, useful to an engineer
trying to understand how a circuit works?

[Dr. Allen] It would be useful for two purposes: For being able
to make sure that you’re simulating the component properly,
and it also has some physical information as far as another
activity which is called layout is concerned.
(Doc. 540, p. 24, quoting Doc. 214, 39:7—14).
Thus, Dr. Steer’s contention that he did not have access to the layouts is
undermined by the record.?3

Plaintiff, as the party offering an expert opinion, has the burden of

establishing three criteria by a preponderance of the evidence: qualification,

 

22 To further illustrate the importance of layouts, Dr. Razavi points in his rebuttal report to
examples where the layouts showed the symbolic representations in the schematics did not
reflect how the accused products work. (Doc. 527, p. 22, quoting Doc. 573-1, 1 670-683). And
Qualcomm engineer, rir rUETTTTICR TIE corroborated that one must review the layout in
order to determine whether a node in a schematic actually exists in the final product. (Doc.
540, p. 23 n.19).

23 Defendants further note that Dr. Steer had access to Cadence, the design tool used by
Defendants which allows the user to switch between the schematic view and the layout view
and used that tool to examine the layout for Defendants’ accused products in the case brought
by Plaintiff in the ITC. (Doc. 540, pp. 23 n.18, 24).

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reliability, and helpfulness. See Metabolife Intl, Inc., 401 F.3d at 1238.
Notwithstanding this burden of persuasion, Plaintiffs response to Defendants’
Daubert challenge is limited to two paragraphs and is devoid of any citation to Dr.
Steer’s expert report or literature of any kind.24 (Doc. 527, pp. 19-20). Instead of
demonstrating how Dr. Steer’s infringement opinions satisfy Daubert, Plaintiff
elects to characterize the dispute as one concerning “conflicting sets of facts.” (Doc.
527, p. 19). The issue is not over which conflicting set of facts is more persuasive.
Rather, the issue is that Dr. Steer improperly bases his infringement opinions on
the unsupported assumption that Defendants’ engineers back-annotate
schematics based on the layouts. That is, the issue is the reliability, or lack thereof,
of Dr. Steer’s methodology. Dr. Steer had access to Cadence, and he knew how to
access the layout view to support his contention that the accused products infringe
the summing claims of the ‘372 patent. Inexplicably, Dr. Steer elected not to
employ the same intellectual rigor one expects of an expert in the same field
conducting professional work outside the context of paid litigation. Simply put, Dr.

Steer’s methodology is unreliable and, therefore, inadmissible.25

 

24 Plaintiff only used 20 of the 25 pages allotted to its response. At oral argument, Plaintiff cited
to two paragraphs of Dr. Steer’s report. However, oral argument is not an opportunity to sua
sponte supplement one’s response to a Daubert challenge. Even if oral argument was a second
bite at the apple, the citation to {{] 253-254 does not change the outcome of this motion.

25 Plaintiff attempts a feat of judo by claiming Dr. Steer’s unreliably methodology is excused by
Defendants’ responses to Plaintiffs contention interrogatories. (Doc. 540, p. 20). That is,
Plaintiff submits that Defendants indicated they would rely on “schematics and related
documents” to support non-infringement. (/d.). Whether Defendants’ reliance on schematics
and related documents (presumably to include layouts) will win the day on invalidity is
irrelevant to whether Dr. Steer’s opinions are properly supported. In the same vein, Plaintiff
complains that Defendants failed to tell them that Dr. Steer could not determine whether the

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Ill. CONCLUSION

For the forgoing reasons it is ORDERED AND ADJUDGED as follows:

1. Qualcomm’s motion to exclude as unreliable and untimely
ParkerVision Tauog/T theory is GRANTED.

2. Qualcomm’s motion to strike opinions that have been estopped by
ParkerVision I and by the Federal Circuit’s affirmance of the PTAB is
GRANTED.

3. The parties shall meet and confer in an attempt to reach agreement
on the Board’s factual findings regarding what the prior art teaches
and the impact on Plaintiff's experts’ testimony. If agreement cannot
be reached, the parties may submit briefs on the issue no later than
May 2, 2022, with responses due by May 16, 2022.

4. Qualcomm’s Daubert motion to strike unreliable opinions due to the
lack of testing and simulation is GRANTED; and

5. Qualcomm’s Daubert motion to strike Dr. Steer’s infringement

opinions regarding the claims of the ‘372 patent is GRANTED.

DONE AND ORDERED in Orlando, Florida on March 9, 2022.

 

accused products sum in the required order envision by the ‘372 patent as a defense to Dr.
Steer’s unreliable methodology. The American system of civil justice is still an adversarial
system, and, unlike criminal prosecutions where the prosecutor must turn over favorable
evidence to an accused, Defendants are under no obligation to advise Dr. Steer on how best to
advance his infringement theories. Finally, Plaintiff submits Defendants “waived” its ability
to challenge Dr. Steer’s methodology, but Plaintiff offers no legal authority for this novel
theory.

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Copies furnished to:

Counsel of Record
Unrepresented Parties

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